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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 1:20-cv-23564-COOKE-GOODMAN

   DAVID WILLIAMS and CAROLL
   ANGLADE, THOMAS MATTHEWS,
   MARTIZA ANGELES, and HOWARD
   CLARK, individually and on behalf of all
   others similarly situated,

         Plaintiffs,

   v.

   RECKITT BENCKISER LLC and
   RB HEALTH (US) LLC,

         Defendants.




             PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS
           ACTION SETTLEMENT AND CLASS COUNSEL’S MOTION FOR
           ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARDS AND
                  INCORPORATED MEMORANDUM OF LAW
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                                        INTRODUCTION
          Reckitt Benckiser LLC and RB Health (US) LLC (“Defendants”) marketed and sold
   the brain supplements Neuriva Original, Neuriva Plus, and Neuriva De-Stress (collectively,
   “Neuriva” or “Neuriva Products”) as containing ingredients clinically and scientifically
   proven to improve brain performance. Plaintiffs David Williams, Caroll Anglade, Thomas
   Matthews, Martiza Angeles, and Howard Clark ("Plaintiffs”) have alleged, based on
   substantial investigation and work with consulting experts, that those ingredients in fact have
   not in fact been “proven” to have an impact on brain performance and that the claims
   constitute false advertising. Plaintiffs and Defendants (“the Parties”), while continuing to
   litigate the claims, simultaneously engaged in contentious arm’s-length negotiations with the
   assistance of a respected and experienced mediator that resulted in the Settlement Agreement
   this Court preliminarily approved on April 23, 2021. (ECF No. 57).
          Plaintiffs now move for final approval of the Settlement and approval of their motion
   for attorneys’ fees and expenses. 1 This Settlement, if finally approved, will primarily
   accomplish two objectives. The Settlement will provide Class Members with $8 million in
   monetary benefits with only minimal claim requirements and will grant nationwide injunctive
   relief that will require Defendants to cease marketing their Neuriva Products as containing
   ingredients clinically and scientifically proven – relief that was not assured if Plaintiffs had
   continued to litigate and, even if successful, would not likely have been obtained for years.
                                  FACTUAL BACKGROUND
   I.     BACKGROUND OF THE LITIGATION AND MEDIATION
              A. Relevant Procedural Background
          Defendants began selling Neuriva Original in April 2019 and subsequently added
   Neuriva Plus and Neuriva De-Stress to their product line. The central theme of Defendants’
   packaging and marketing is that the Neuriva ingredients have been clinically and scientifically
   proven to improve brain performance. Prior to filing suit, Class Counsel exhaustively
   researched Defendants’ marketing across different platforms; investigated the extent of


   1
    Plaintiffs have filed a combined Motion for Attorneys’ Fees and Expenses (originally due
   on July 16, 2021, and extended to July 19, 2021) and Motion for Final Approval of the
   Settlement for the convenience of the Court.
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   scientific research relevant to Neuriva’s active ingredients; consulted with two experts
   regarding the relevant studies and the validity of Defendants’ scientific claims, including a
   pharmacologist/neuroscientist and a biostatistician; and extensively researched the applicable
   law.
          On June 19, 2020, Plaintiff Matthews filed a class action in the Eastern District of
   California alleging claims on behalf of a California class under the California consumer
   protection statutes, on behalf of a multi-state class under multiple state consumer protection
   statutes, and on behalf of a nationwide class for unjust enrichment. Plaintiffs Williams and
   Anglade filed their class action complaint on August 26, 2020, alleging claims under Fla. Stat.
   § 501.201 et seq. on behalf of a Florida class and for unjust enrichment on behalf of a
   nationwide class. Plaintiff Angeles filed a class action complaint on September 2, 2020, in the
   Southern District of New York asserting claims on behalf of a New York class for violations
   of N.Y. General Business Law § 349 and for unjust enrichment. Plaintiff Howard did not
   initially file suit but sent Defendants a pre-suit demand letter challenging Neuriva’s marketing
   representations in May 2020.
          Defendants first moved to dismiss the Matthews action, and, after counsel fully
   researched and investigated Defendants’ motion to dismiss arguments, Plaintiff Matthews
   filed an Amended Complaint. In the Williams action, Defendants moved to transfer the case
   to the Eastern District of California under the “first-filed” rule and additionally moved to
   dismiss the complaint. The Williams Plaintiffs opposed Defendants’ transfer motion and, after
   again fully researching and investigating Defendants’ arguments, filed an Amended
   Complaint in response to the motion to dismiss. Defendants then moved to dismiss the
   Amended Complaint. Defendants’ deadline to respond to the Angeles case had not run by the
   time the Parties settled the case.
          If the Parties had not negotiated the Settlement currently before the Court, the Williams
   case may well have been transferred to the Eastern District of California where no judge has
   ever been assigned to the first-filed Matthews case. Defendants would have undoubtedly fully
   litigated motions to dismiss in the Matthews, Williams, and Angeles cases, opposed class
   certification, and moved for summary judgment on any remaining claims in all three cases.
          On January 20, 2021, for purposes of settlement, Plaintiffs joined in filing a
   Consolidated Amended Complaint in this Court (the “Action”). (ECF No. 51). The Action

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   involves the same factual claims regarding Defendants’ false advertising of the three Neuriva
   Products as set out in Matthews, Williams, and Angeles and includes multiple claims made on
   behalf of consumers in California, Florida, and New York and an unjust enrichment claim
   on behalf of a nationwide class.
          On February 8, 2021, Plaintiffs filed their Motion for Preliminary Approval of the
   Proposed Settlement (ECF No. 52), which this Court granted on April 23, 2021. (ECF No.
   57). On April 26, 2021, the Court directed the Parties to provide further information
   regarding the proposed injunctive relief set out in the Settlement Agreement. (ECF No. 58).
   Plaintiffs and Defendants filed separate briefs responding to the Court’s order on May 24,
   2021. (ECF Nos. 61, 62).
             B. Class Counsel’s Investigation
          Prior to negotiating the Settlement, Class Counsel spent significant time
   communicating with Plaintiffs; investigating Defendants’ marketing and advertising of the
   Neuriva Products on television, in print, on their website, and on social media; gathering and
   reviewing studies related to the active ingredients of Neuriva; and gathering and reviewing
   other materials related to brain supplements. Class Counsel also interviewed numerous other
   consumers apart from Plaintiffs about their purchases of Neuriva Products.
          In addition, Class Counsel worked with a biostatistics expert consultant who reviewed
   and analyzed studies of one of the Neuriva Products’ key ingredients and assessed the study
   design and the statistical validity of the study’s conclusions. Class Counsel also worked
   extensively with a pharmacology/neuroscience expert consultant regarding relevant
   biochemistry principles, the state of the research regarding the Neuriva Products’ active
   ingredients, and an analysis of studies cited by Defendants.          During the settlement
   negotiations, Class Counsel continued to consult with the pharmacology/neuroscience expert
   regarding studies relied on by Defendants for purposes of the mediation.
          Additionally, Class Counsel researched the law in California, Florida, and New York
   and related federal law, including related federal regulations and relevant FDA and FTC
   guidance regarding dietary supplements. Class Counsel also reviewed the filings and court
   decisions in similar litigation addressing comparable supplements.
          As a result of this work, Class Counsel entered the mediation amply informed about
   the merits of the Settlement Class members’ claims and were well positioned to vigorously

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   advance the position of Plaintiffs and the Settlement Class members while also being fully
   prepared to continue to litigate the cases rather than accept a settlement that was not in the
   best interests of Plaintiffs and the Settlement Class.
              C. Multiple Mediations and Subsequent Settlement Discussions
          While the Matthews and Williams cases were proceeding, the Parties agreed to mediate
   all the cases and, after engaging in informal discovery regarding Defendants’ purported
   scientific basis for their claims and data regarding the Neuriva Products’ sales, participated in
   a one-day mediation session on October 2, 2020, with mediator Jill Sperber, Esq. from
   Judicate West. Ms. Sperber is a respected mediator with significant complex litigation
   experience, both as a litigator and as a mediator. See https://www.judicatewest.com/adr/jill-
   sperber.
          When the Parties failed to reach a settlement at that mediation, Ms. Sperber continued
   to engage in discussions with the Parties, and ultimately the Parties agreed to participate in a
   second mediation session on November 30, 2020. The Parties were able at the second day of
   mediation to reach substantial agreement on the monetary amount of the settlement fund for
   the Class. Subsequently, with Ms. Sperber’s assistance, the Parties continued to negotiate
   telephonically and ultimately agreed to injunctive relief terms. The Parties agreed to the final
   material terms of the Settlement, although they continued their discussions of the finer details
   of the Settlement Agreement through January 2021. At all times, the negotiations were at
   arm’s-length, and Ms. Sperber agrees that the resulting settlement is a fair, reasonable, and
   adequate resolution for the Settlement Class.
   II.    MATERIAL TERMS OF THE SETTLEMENT AGREEMENT AND NOTICE
          PLAN

              A. The Proposed Class
          The Settlement provides relief to a Settlement Class defined as “[a]ll persons who
   purchased for personal consumption and not for resale, one or more of the Neuriva Products,
   from Reckitt or an authorized reseller, in the United States, between the dates of January 1,
   2019, and the date of Preliminary Approval of the Settlement by the Court.” (ECF No. 52-1,
   Ex. 1 ¶ I.Z). This Settlement Class was preliminarily certified, pending final approval. (ECF
   No. 52). The time frame of the Class period begins in January 2019 to capture when
   Defendants first began selling Neuriva Products.

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               B. Settlement Relief
           The Settlement Agreement provides both monetary and injunctive relief to the
   Settlement Class. The Parties estimate that there are thousands of potential Settlement Class members.
                               1. Monetary Relief
           The Defendants have agreed to pay up to $8,000,000 in monetary relief to Settlement
   Class Members, exclusive of administrative costs, attorneys’ fees and expenses, and court-
   ordered service awards, for purchases of Neuriva Products. Settlement Class Members with
   Proof of Purchase will receive up to $32.50 per valid claim, and Settlement Class Members
   may make up to two claims for a maximum of $65.00. Settlement Class Members may not
   receive more than the amount reflected on their Proof of Purchase. For those without Proof
   of Purchase, Settlement Class Members will receive $5.00 per valid claim, and Settlement
   Class Members may make up to four claims for a maximum of $20.00.
           Every Settlement Class Member (or Household with a Settlement Class Member) has
   the right to submit a claim for monetary relief. In the event that the amount of valid claims
   exceeds $8,000,000, the monetary benefit will be reduced on a pro rata basis.
                               2. Injunctive Relief
           In addition to monetary relief, the Parties also agreed to significant injunctive relief.
   The Settlement Agreement’s proposed injunctive relief, as clarified by the Amended
   Settlement Agreement (ECF No. 62), addresses the main allegations of deceptive advertising
   raised in Plaintiffs’ complaint by (1) barring Defendants from stating that the Neuriva
   Products or their ingredients are clinically or scientifically proven to improve brain
   performance, and (2) limiting Defendants to stating with respect to the Neuriva Products’
   ingredients that they have been “Clinically Tested,” “Science Tested,” or similar language
   such as scientific studies have “shown” certain results. (ECF 52-1, Ex. 1 ¶¶ IV.A.1-3).
           The injunctive relief provision also allows both Plaintiffs and Defendants to seek relief
   from the Court should the state of the science change. Under the terms of the agreement, in
   the event that “new research, information, or regulatory or legal developments” arise that
   would warrant expanding the injunction to further restrict Defendants’ marketing statements,
   Plaintiffs may seek modification of the injunction from this Court. (ECF 52-1, Ex. 1 ¶
   IV.A.4).



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          Defendants will have six months after entry of the Final Approval Order and Judgment
   to correct all of their marketing (including label changes and internet and media advertising),
   and the agreed-upon changes will remain in effect for at least two years. (ECF 52-1, Ex. 1 ¶
   IV.A.3). At that point, if Defendants attempt to return to their current “Clinically Proven”
   and “Scientifically Proven” marketing campaign without additional scientific or clinical
   studies supporting their claims, they would again be subject to suit.
          C.      Release of Claims against Defendants
          In exchange for the monetary and injunctive relief provided in the Settlement
   Agreement, members of the Settlement Class who did not timely and validly opt out of the
   Settlement Class will release and discharge the Settling Defendants from all claims as outlined
   in the Settlement Agreement.
          D.      Class Representative Service Awards
          As part of the Settlement, Defendants agreed, subject to Court approval, to pay service
   awards not to exceed $2,000 each to Class Representatives David Williams, Caroll Anglade,
   Thomas Matthews, Maritza Angeles, and Howard Clark in recognition of the time and effort
   they personally invested in this litigation and in exchange for the claims of Class
   Representatives in this Action being released. Plaintiffs are aware that the Eleventh Circuit
   held in Johnson v. NPAS Sols., LLC, 975 F.3d 1244, 1255-62 (11th Cir. 2020), that, based upon
   Supreme Court cases from the 1800s, service awards to class representatives are prohibited.
   On October 22, 2020, the Johnson plaintiff/appellee filed a Petition for Panel Rehearing or
   Rehearing En Banc. Following that request, on November 5, 2020, the Eleventh Circuit
   granted multiple parties’ petitions to file amicus briefs in support of rehearing en banc and,
   on November 9, 2020, the Eleventh Circuit withheld issuance of the mandate in that case.

               E. Attorneys’ Fees and Expenses
          The Settlement Agreement provides that Class Counsel may make an application to
    this Court for an award of attorneys’ fees and expenses in the amount not to exceed
    $2,900,000.00. Defendants’ payment of fees and costs to Class Counsel is entirely separate
    and apart from the benefits provided to the Settlement Class and will have no impact on the
    recovery received by Settlement Class Members. The Parties negotiated and agreed upon
    attorneys’ fees and costs only after agreeing on all other material terms of the Settlement.


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    And the effectiveness of the Settlement and the releases is not contingent on the Court’s
    approval of the Fee and Expense Award or affected by the amount of the Fee and Expense
    Award approved by the Court.
             F. Notice and Settlement Administration
          The Court appointed the Angeion Group to act as the Settlement Administrator. The
   Settlement Administrator was responsible for, among other things: (a) initiating and
   monitoring the Notice Plan; (b) establishing a Post Office box and a dedicated email address
   for receiving claims, requests for exclusions, objections, and other correspondence; (c)
   establishing a Settlement Website that will not only contain important documents and
   information on how to file a claim, but also the means by which Settlement Class Members
   can electronically file claims; (d) forwarding inquiries to Class Counsel for a response, if
   warranted; (e) reviewing Claims in accordance with the Settlement Agreement; (f) otherwise
   implementing and/or assisting with the Claims review protocols agreed to by the Parties and
   set forth in the Settlement Agreement; and (g) processing payments on timely Valid Claims
   in accordance with the Settlement Agreement.
          As detailed in the Declaration of Steven Weisbrot, a partner at Angeion, filed in
   support of the Motion for Preliminary Approval of the Settlement (ECF No. 52-3), the Notice
   plan, which was approved by the Court, provided for notice through internet advertising (id.
   ¶¶ 16-27), a social media campaign using Facebook and Instagram (id. ¶¶ 28-30), a dedicated
   settlement website (id. ¶¶ 31-32), a paid search strategy designed to drive Class Members to
   the dedicated settlement website (id. ¶¶ 31-32), and a toll-free hotline (id. ¶ 34). The notice
   plan was designed to reach 80.14% of the target audience with each person viewing the digital
   advertising an average of 3.99 times. (Id. ¶ 13). See Barbara J. Rothstein & Thomas E.
   Willging, Federal Judicial Center, “Managing Class Action Litigation: A Pocket Guide for
   Judges,” at 27 (3d Ed. 2010) (explaining that a publication notice plan that reaches 70% of
   class members is one that reaches a “high percentage” and is within the “norm”). This Notice
   Plan has been and is continuing to be executed with additional notice still scheduled to be
   provided to the Class. Plaintiffs will file a Declaration from Angeion detailing completion of
   the Notice Plan once the deadline for Class Members to object (July 27, 2021) has passed.
          As will be set forth in the Angeion declaration, Class Members may submit a claim
   online through the dedicated Settlement website or may obtain a paper claim form by calling

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   a tollfree number or by requesting the form by mail from the Settlement Administrator. As
   of July 15, 2021, Angeion reported that no Class Members have requested to opt out or have
   submitted objections. A complete report will be included in the Angeion Declaration.
                                                ARGUMENT
   I.     THE STANDARDS OF RULE 23(A) AND RULE 23(B)(3) HAVE BEEN MET.
          In the Court’s Order preliminarily approving the settlement, the Court found that the
   requirements of Rule 23(a) and 23(b)(3) have been satisfied in this Action and conditionally
   certified the Settlement Class. (ECF. No. 50 at 3). Plaintiffs respectfully submit that the Court
   should make the same determinations in granting Final Approval and certifying the
   Settlement Class.
   II.    THIS COURT SHOULD GRANT FINAL APPROVAL OF THE SETTLEMENT.
              A. The Legal Standard for Final Approval
          Fed. R. Civ. P. 23(e) requires court approval before a class action can be dismissed via
   a settlement. “Although class action settlements require court approval, such approval is
   committed to the sound discretion of the district court.” In re U.S. Oil & Gas Litig., 967 F.2d
   489, 493 (11th Cir. 1992). The Eleventh Circuit has emphasized that courts determining
   whether to approve a settlement be guided by the “strong judicial policy favoring settlement
   as well as by the realization that compromise is the essence of settlement.” Bennett v. Behring
   Corp., 737 F.2d 982, 986 (11th Cir. 1984).
          “Settlement ‘has special importance in class actions with their notable uncertainty,
   difficulties of proof, and length. Settlements of complex cases contribute greatly to the efficient
   utilization of scarce judicial resources, and achieve the speedy resolution of justice[.]’” Turner
   v. Gen. Elec. Co., No. 2:05-cv-186, 2006 WL 2620275, at *2 (M.D. Fla. Sept. 13, 2006) (citation
   omitted). For these reasons, “there exists an overriding public interest in favor of settlement,
   particularly in class actions that have the well-deserved reputation as being most complex.”
   Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1314 (S.D. Fla. 2005) (citation omitted); see
   also In re Sunbeam Sec. Litig., 176 F. Supp. 2d 1323, 1329 (S.D. Fla. 2001) (noting that Courts
   “should always review the proposed settlement in light of the strong judicial policy that favors
   settlements[]”).
              B. The Settlement Should be Approved as Fair, Adequate, and Reasonable.



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          Courts in this Circuit, when deciding whether to approve a class action settlement,
   consider the following factors: (1) the existence of fraud or collusion behind the settlement;
   (2) complexity, expense, and duration of litigation; (3) the stage of the proceedings at which
   the settlement was achieved; (4) the likelihood of the plaintiffs’ success on the merits; (5) the
   range of possible recovery; and (6) the opinions of class counsel, class representatives, and the
   substance and amount of opposition received. See Leverso v. SouthTrust Bank of Ala., N.A., 18
   F.3d 1527, 1530 n.6 (11th Cir. 1994); Saccoccio v. JP Morgan Chase Bank, N.A., 297 F.R.D. 683,
   691-94 (S.D. Fla. 2014). “In assessing these factors, the Court ‘should be hesitant to substitute
   . . . her own judgment for that of counsel.’” Lipuma, 406 F. Supp. 2d at 1315 (quoting In re
   Smith, 926 F.2d 1027, 1028 (11th Cir. 1991)). Analysis of these factors supports approval of
   the Settlement.
          Absence of Fraud or Collusion: In considering the first factor regarding fraud or
   collusion, courts begin with a presumption of good faith in the negotiating process. See
   Saccoccio, 297 F.R.D. at 692 (“Where the parties have negotiated at arm’s length, the Court
   should find that the settlement is not the product of collusion.”); Hemphill v. San Diego Ass’n of
   Realtors, Inc., 225 F.R.D. 616, 621 (S.D. Cal. 2004) (observing that “the courts respect the
   integrity of counsel and presume the absence of fraud or collusion in negotiating the
   settlement”).
          This Settlement was the product of vigorous give and take between the Parties
   overseen and facilitated by a respected mediator with significant experience with complex
   litigation who leveraged that experience in bringing the Parties back to the table after the first
   mediation failed and in continuing the negotiations after the second mediation. See Morgan
   v. Pub. Storage, 301 F. Supp. 3d 1237, 1247 (S.D. Fla. 2016) (“The assistance of an experienced
   mediator in the settlement process confirms that the settlement is non-collusive.”). Further,
   throughout the negotiation process, Plaintiffs continued to press forward with the litigation,
   demonstrating that Plaintiffs and the Class Counsel were committed to litigating the Class’s
   claims in the absence of an adequate settlement.
          Complexity, Expense, and Duration: As to the second factor -- complexity, expense,
   and duration of litigation – there can be little question that this case presents complex issues
   of fact and law that would require significant time and expense to resolve, and such resolution
   would ultimately be uncertain. Defendants had already filed motions to dismiss, including

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   preemption arguments, and a Motion to Transfer or Stay the Williams case, which if granted
   would have likely delayed the case. Even if Plaintiffs prevailed on the motions to dismiss,
   Defendants had already forecast that they would vigorously oppose class certification. With
   respect to the inevitable motions for summary judgment, Plaintiffs would have had to
   navigate highly complex, technical, and scientific discovery, involving numerous experts for
   both Parties. While Plaintiffs are well-positioned to chart a successful course through
   discovery and ultimately trial, a favorable resolution would require years of trial-level
   proceedings, interlocutory appeals, and final appeals and involve great expense for the Parties.
   See In re Oil Spill by Oil Rig Deepwater Horizon in Gulf of Mex., on Apr. 20, 2010, 910 F. Supp. 2d
   891, 932 (E.D. La. 2012), aff'd, 2014 WL 103836 (5th Cir. Jan. 10, 2014) (“Even assuming
   litigation could obtain the results that this Settlement provides, years of litigation would stand
   between the class and any such recovery. Hence, this second Reed factor weighs strongly in
   favor of granting final approval to the Settlement Agreement.”).
          By contrast, the Settlement provides immediate and substantial monetary relief to the
   Settlement Class, with payments approximating a significant percentage of Settlement Class
   Members’ actual damages. (Bryson Decl. ¶¶ 29, 30). And Defendants will have to make
   significant label changes – specifically removing the language at the heart of this case – within
   six months after final approval as opposed to years down the road. This monetary recovery
   and injunctive relief – assured without the expense, uncertainty, and delay of litigation – is a
   valuable and timely result for the Class. See, e.g., Beber et al. v. Branch Banking & Trust Co. et al.,
   No. 15-cv-23294 (S.D. Fla. ) (ECF No. 109) (approving similar settlement with payment
   percentages of damages of 10%, 8%, and 5%); Saccoccio, 297 F.R.D. at 693 (return of 12.5%
   of premiums charged for FPI with prospective relief that “very likely exceeds what Plaintiffs
   could have won at trial”); In re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330, 1346
   (S.D. Fla. 2011) (range of 9% to 45% of damages was an “exemplary” result). In light of the
   costs, uncertainties, and delays of litigating through trial—and possibly an appeal—“the
   benefits to the class of the present settlement become all the more apparent.” See Ressler v.
   Jacobson, 822 F. Supp. 1551, 1555 (M.D. Fla. 1992).
          Stage of Proceedings: Courts consider “the degree of case development that class
   counsel have accomplished prior to settlement” to ensure that “counsel had an adequate
   appreciation of the merits of the case before negotiating.” In re Gen. Motors Pick-up Truck Fuel

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   Tank Prods. Liab. Litig., 55 F.3d 768, 813 (3d Cir. 1995). At the same time, “[t]he law is clear
   that early settlements are to be encouraged, and accordingly, only some reasonable amount
   of discovery should be required to make these determinations.” Ressler, 822 F. Supp. at 1555.
          Class Counsel negotiated the Settlement from a well-informed position. Class Counsel
   performed a substantial pre-suit investigation into Neuriva’s marketing (reflected in Plaintiffs’
   complaints), which revealed the universality of Neuriva’s “proven” ingredient claims. Class
   Counsel also investigated the scientific and clinical support for Neuriva’s active ingredients
   to determine the strength (or lack thereof) for Defendants’ claims. This research not only
   included reviewing scientific and clinical literature, but Class Counsel engaged two well-
   respected consulting experts, including a pharmacologist/neuroscientist and a biostatistician.
   Class Counsel’s pharmacology/neuroscience expert proved invaluable in understanding the
   complicated biochemistry and other scientific issues involved in Defendants’ “clinically
   proven” and “science proved” claims and the literature upon which Defendants relied. The
   biostatistician highlighted the weaknesses of the study design and analysis for key studies
   Defendants cited. Finally, Class Counsel obtained confirmatory discovery from Defendants
   concerning Neuriva’s sales, information key during negotiations to ensure the Settlement was
   fair and provided significant value to the Settlement Class. In sum, the Settlement was
   negotiated in good faith and at arm’s-length by experienced counsel who were well-informed.
          Probability of Success on the Merits: “[T]he likelihood and extent of any recovery
   from the defendants absent ... settlement” must be considered in assessing the reasonableness
   of a settlement. See In re Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297, 314 (N.D. Ga.
   1993). Put simply, while Class Counsel and Plaintiffs believe they have a strong and
   compelling case, Plaintiffs faced the risk of losing at class certification, summary judgment,
   at trial, or on appeal. Therefore, “because success at trial is not certain for Plaintiff[s], this
   factor weighs in favor of accepting the settlement.” Burrows v. Purchasing Power, LLC, No. 1:
   12-CV-22800, 2013 U.S. Dist. LEXIS 189397, 2013 WL 10167232, at *6 (S.D. Fla. Oct. 7,
   2013). Moreover, even if Plaintiffs prevailed at trial, any recovery could be delayed for years
   by an appeal. This Settlement provides substantial relief to Settlement Class Members
   without further delay. Lipuma, 406 F. Supp. 2d at 1322 (noting that the likelihood appellate
   proceedings could delay class recovery “strongly favor[s]” approval of a settlement). Plaintiffs



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   faced the real possibility of zero recovery or a recovery and label changes only years in the
   future, allowing Defendants’ false marketing to continue unabated during those years.
          Range of Possible Recovery: Because “[m]onetary relief is difficult to quantify,” in
   evaluating a class settlement, “the Court’s role is not to engage in a claim-by-claim, dollar-by-
   dollar evaluation, but rather, to evaluate the proposed settlement in its totality.” Lipuma, 406
   F. Supp. 2d at 1322 -23 (finding that settlement recovering 8.1% of possible damages was fair,
   adequate, and reasonable). “[T]he fact that a proposed settlement amounts to only a fraction
   of the potential recovery does not mean the settlement is unfair and inadequate . . . A
   settlement can be satisfying even if it amounts to a hundredth or even a thousandth of a single
   percent of the potential recovery[.]” Behrens v. Wometco Enter. Inc., 118 F.R.D. 534, 542 (S.D.
   Fla. 1988).
          Here, the Settlement provides an $8 million fund out of which to pay Settlement Class
   members. Settlement Class Members who provide Proof of Purchase may be entitled to
   potentially a full refund for two purchases of Neuriva Products, up to $32.50 each or $65.00
   total. (Bryson Decl. ¶ 29). Settlement Class Members who do not have Proof of Purchase
   may file a claim for up to four purchases of Neuriva Products for a total of $20. (Id.). The
   ability of Class Members who do not have Proof of Purchase to receive monetary benefits is
   particularly noteworthy, as Defendants have no way of independently verifying who actually
   purchased an over-the-counter product like Neuriva. Further, the monetary settlement
   benefits per purchase available to those without Proof of Purchase constitute approximately
   22% of the manufacturer’s price for Neuriva Original or 15% for Neuriva Plus. (Bryson Decl.
   ¶ 30). These settlement amounts meet or exceed the standards established by this and other
   courts. See also Bennett, 737 F.2d at 986 (holding that 5.6% recovery was fair and adequate in
   view of risks of further litigation and litigation objectives);In re Checking Account Overdraft
   Litig., 830 F. Supp. 2d at 1346 (“[S]tanding alone, nine percent or higher constitutes a fair
   settlement even absent the risks associated with prosecuting these claims.”). In fact, the
   monetary benefits made available to Settlement Class Members compare favorably with an
   almost identical case. See Collins v. Quincy Bioscience, LLC, Case No. 1:19-cv-22864, ECF No.
   200 (S.D. Fla. Nov. 18, 2020) (granting final approval to brain supplement class settlement
   providing up to $12 without proof of purchase and up to $70 with proof of purchase).



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          The fact that the parties agreed to a “claims-made” settlement does not render its terms
   unreasonable and, in some cases, is a better result. See, e.g., Saccoccio, 297 F.R.D. at 696
   (overruling objections to claims-made process because “[t]here is nothing inherently suspect
   about requiring class members to submit claim forms in order to receive payment.”). 2
          The Settlement will also provide valuable injunctive relief to the Settlement Class. The
   Settlement ensures that any references to “Clinically Proven” and “Science Proved” will be
   removed from the both the labeling of the Neuriva Products and all ancillary marketing –
   Defendants’ misrepresentation regarding the existence of scientific proof was the primary
   focus of Plaintiffs’ complaint. Because, without this injunctive relief, Settlement Class
   Members and future purchasers of Neuriva would continue to be exposed to the same false
   claims about clinical and scientific “proof,” Class Counsel refused to settle this case without
   a change in Neuriva’s marketing. (Bryson Decl. ¶ 22). Courts have found that such relief
   (requiring changes to marketing claims) provides significant benefits to class members. See
   Marty v. Anheuser-Busch Companies, LLC, No. 13-cv-23656-JJO, 2015 WL 6391185, at *2 (S.D.
   Fla. Oct. 22, 2015); Hazlin v. Botanical, No. 13-cv-00618-KSC, 2015 WL 11237634, at *3-4
   (S.D. Cal. May 20, 2015); Bezdek v. Vibram USA Inc., 809 F.3d 78, 84 (1st Cir. 2015); Arnold
   v. Fitflop USA LLP, No. 11-cv-00973W-KSC, 2014 WL 1670133, at *1, *8 (S.D. Cal. Apr. 28,
   2014); Nigh v. Humphreys Pharmacal, Inc., No. 12-cv-02714-MMA-DHB, 2013 WL 5995382,
   at *2, *8 (S.D. Cal. Oct. 23, 2013); United States v. Washington Mint, LLC, 115 F. Supp. 2d
   1089, 1105 (D. Minn. 2000).



   2
    See also Casey v. Citibank, No. 12-cv-820 (N.D.N.Y.) (ECF No. 222 at ¶ 6) (approving virtually
   identical claims-made settlement and finding that regardless of the take rate, “[t]he settlement
   confers substantial benefits upon the Settlement Class members, is in the public interest, and
   will provide the parties with repose from litigation.”); Shames v. Hertz Corp., No. 07-cv-2174,
   2012 WL 5392159 (S.D. Cal. Nov. 5, 2012) (approving claims-made settlement over
   objections because “there is nothing inherently objectionable with a claims-submission
   process, as class action settlements often include this process, and courts routinely approve
   claims-made settlements”) (citations omitted); Lemus v. H & R Block Enters. LLC, No. 09-cv-
   3179, 2012 WL 3638550 (N.D. Cal. Aug. 22, 2012) (approving claims-made settlement where
   unclaimed funds reverted to the defendants); Atkinson v. Wal-Mart Stores, Inc., No. 8:08-cv-
   00691-T-30TBM, 2011 WL 6846747, at *5 (M.D. Fla. Dec. 29, 2011) (approving claims-made
   settlement with full reversion).



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          In addition, the Settlement’s injunctive relief is already having an impact. Recently,
   Defendants introduced another supplement in the Neuriva line: Neuriva Brain + Eye. (Bryson
   Decl. ¶ 32). Although this new product is not governed by this Settlement, the labeling for
   Neuriva Brain + Eye still uses the language agreed to in the Settlement. (Id.). Absent the
   Settlement, there is little doubt that this new product and subsequent products would continue
   the false and misleading marketing claims of the other Neuriva Products. As such, the
   injunctive relief is already producing significant benefits now and will in the future.
          The Opinions of Class Counsel, the Class Representatives, and Absent Class
   Members: A court should give “great weight to the recommendations of counsel for the
   parties, given their considerable experience in this type of litigation.” Warren v. Tampa, 693 F.
   Supp. 1051, 1060 (M.D. Fla. 1988). Class Counsel in this case have long track records of
   successfully litigating a wide variety of consumer class actions nationwide, including those
   involving supplements. (Bryson Decl. ¶ 40). Class Counsel relied on their experience and
   their deep familiarity with the factual and legal issues in this case, considered the risks
   associated with continued litigation, and determined that the Settlement is fair, reasonable,
   adequate, and in the best interests of the Settlement Class Members.
          With respect to the view of absent class members, as of July 15, 2021, the Settlement
   Administrator had not received any opt out requests or objections, a fact strongly supporting
   the fairness and reasonableness of the Settlement. 3 See, e.g., Churchill Village LLC v. Gen. Elec.,
   361 F.3d 566, 577 (9th Cir. 2004) (affirming settlement with 45 objections out of 90,000
   notices); Saccoccio, 297 F.R.D. at 694 (opposition amounting to .018% of the class was termed
   as “low resistance to the settlement” and weighed “in favor of approving the settlement”).
          Viewed either independently or taken together, the above six factors confirm that the
   Settlement is fair, reasonable, and adequate and in the best interests of the Settlement Class.
   The Court should grant the motion for final approval of the Settlement.

   III.   THE COURT SHOULD AWARD REASONABLE FEES AND COSTS AND
          RESERVE JURISDICTION ON THE REQUESTED SERVICE AWARDS


   3
    To allow the Settlement Class to have an opportunity to review this brief and supporting
   material, Plaintiffs proposed and this Court adopted an objection deadline of July 26, 2021.
   Class Counsel will supplement this Motion with an Angeion Declaration and a response to
   any objections on August 9, 2021 as provided in the preliminary approval Order.
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          For their effort in bringing about an efficient and beneficial resolution on behalf of
   consumers nationwide, Class Counsel seeks an award of attorneys’ fees and expenses 4 of
   $2,900,000.00. The Settlement Agreement provides: “The amount finally approved by the
   Court shall be the sole responsibility of, and will solely be paid by the Settling Defendants
   above and beyond any relief provided to the Settlement Class.” (ECF No. 52-1, Ex. 1 ¶ V.A).
   (emphasis added). Consequently, the attorneys’ fee and expenses award will not impact the
   amount of money available to Class Members.
              A. The Court Should Award the Requested Attorney’s Fees and Expenses

          As courts in this District have previously recognized, Camden I Condominium Ass’n, Inc.
   v. Dunkle, 946 F.2d 768 (11th Cir.1991), “is the preeminent case in this circuit dealing with
   the issue of attorneys' fees in common-fund class-action cases.” In re Sunbeam Sec. Litig., 176
   F. Supp. 2d at 1333. In Camden I, the Eleventh Circuit held: “Attorneys in a class action in
   which a common fund is created are entitled to compensation for their services from the
   common fund, but the amount is subject to court approval.” 946 F.2d at 771. The Eleventh
   Circuit further held that “the percentage of the fund approach is the better reasoned in a
   common fund case. Henceforth in this circuit, attorneys’ fees awarded from a common fund
   shall be based upon a reasonable percentage of the fund established for the benefit of the
   class.” Id. at 774.
          The percentage applies to the total benefits provided for in the settlement, even where
   the actual payments to the class following a claims process are lower, and the amount of the
   award should take into account non-monetary benefits as well. Poertner v. Gillette Co., 618 F.
   App’x 624, 630 (11th Cir. 2015);see also Waters v. Int’l Precious Metals Corp., 190 F.3d 1291,
   1295 (11th Cir. 1999) (“Contrary to defendants’ assertion, no case has held that a district court
   must consider only the actual payout in determining attorneys’ fees.”).
          As this Court has previously observed, listing cases awarding fees between 33% and
   38% of the common fund, “Courts within this Circuit have routinely awarded attorneys' fees
   of 33 percent or more of the gross settlement fund.” Fernandez v. Merrill Lynch, Pierce, Fenner &
   Smith Inc., No. 15-22782-CIV, 2017 WL 7798110, at *4 (S.D. Fla. Dec. 18, 2017). Indeed, as


   4
    Settlement Class Counsel incurred $27,413.68 in expenses (Bryson Decl. ¶ 52), an amount
   that would be subsumed within the attorneys’ fee award and not added to it.
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   the Fernandez opinion points out, id. at *4, the Eleventh Circuit in Camden I held: “To avoid
   depleting the funds available for distribution to the class, an upper limit of 50% may be stated
   as a general rule, although even larger percentages have been awarded.” 946 F.2d at 774-75.
   Here, Class Counsel seek $2.9 million for attorneys’ fees and expenses, which equals 36% of
   the Class Settlement fund. However, no concern exists regarding potential depletion of funds
   available to the class because Defendants will, under the Settlement Agreement, pay Class
   Counsel’s attorneys’ fees and expenses separate and apart from the $8 million fund established
   for paying Class Members’ claims. ((ECF No. 52-1, Ex. 1 ¶ V.A). In contrast, while this Court
   in Fernandez approved attorneys’ fees equal to 35% of the common fund, those fees and the
   attorneys’ expenses were to be deducted from the fund, thus lessening the total amount
   available to the class. In this case, Class Counsel’s requested fees and expenses actually
   represent 27% of the total amount Defendants are obligated to pay under the Settlement
   Agreement ($8,000,000 + $2,900,000).
          The Eleventh Circuit’s factors for evaluating the reasonable percentage to award class
   action counsel include, as pertinent to the case, (1) the time and labor required; (2) the novelty
   and difficulty of the questions involved; (3) the skill requisite to perform the legal service
   properly; (4) the preclusion of other employment by the attorney due to acceptance of the
   case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) time limitations
   imposed by the client or the circumstances; (8) the amount involved and the results obtained;
   (9) the experience, reputation, and ability of the attorneys; (10) the “undesirability” of the
   case; (11) the nature and the length of the professional relationship with the client; and (12)
   awards in similar cases. See Camden I, 946 F.2d at 772 n.3. This Court may also consider the
   time required to reach settlement, the existence of substantial objections and non-monetary
   benefits, and the economics of prosecuting a class action. Id. at 775. The factors set forth in
   Camden I support the full award requested.
          The Contingent Nature of the Fee, the Financial Burden Carried by Counsel, and
   the Economics of Prosecuting a Class Action: A determination of a fair fee for Class Counsel
   must include consideration of the contingent nature of the fee, the outlay of out-of-pocket
   expenses by Class Counsel, and the fact that the risks of failure and nonpayment in a class
   action are extremely high – with the risk of failure the foremost factor. Pinto v. Princess Cruise
   Lines, Ltd., 513 F. Supp. 2d 1334, 1339 (S.D. Fla. 2007). In this case, Class Counsel received

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   no compensation during the litigation, incurred expenses with no guarantee of repayment,
   and faced a substantial risk that after protracted, complex, and expensive litigation, the Class
   and Class Counsel could end up with no recovery at all.
             The Market Rate in Complex, Contingent Litigation: As this Court pointed out
   in Fernandez, 2017 WL 7798110, at *4, when awarding an attorneys’ fee of 35%, that
   percentage “falls within the range of the customary fee in the private marketplace, where 40
   percent fee contracts are common for complex cases such as this.” As a result, Class
   Counsel’s requested fee of 36% is within the customary range for cases of this nature
   especially given that Class Counsel’s fees and expenses will not be deducted from the Class
   Settlement fund and the Settlement provides the Class with important prospective injunctive
   relief.
             The Novelty and Difficulty of the Questions at Issue: The factual issues in this case
   were complex and numerous, including the subject matter of the case (nutraceutical
   advertising and labelling), scientific issues (including the pharmacological effect of the
   Neuriva Products’ active ingredients and the ability of the various orally-consumed
   ingredients to enter the blood stream, travel to the brain, cross the blood-brain barrier, and
   impact brain performance); review of scientific literature (including analysis of studies with
   respect to the adequacy of their design, potential bias, legitimacy of conclusions, propriety
   of statistical analysis, and the validity and accuracy of the conclusions). The legal issues
   present in the case were also complex, involving, among others, whether Plaintiffs’ claims
   are preempted by federal law, whether Plaintiffs’ claims constitute solely a challenge to a
   lack of substantiation of the product, whether Defendants’ claims amount to false and
   misleading statements under federal and state law, and whether Plaintiffs can assert claims
   for products they did not purchase based on universal misrepresentations. Finally, class
   actions are inherently complex cases, and Plaintiffs’ cases would have been no different.
             The Skill, Experience, and Reputation of Class Counsel: This litigation required a
   high degree of skill and experience. Class Counsel have decades of experience successfully
   litigating national class actions. Beyond that, Class Counsel’s reputation, diligence, expertise,
   and skill are reflected in how they have handled this case and the results they have achieved.
   They resolved this dispute efficiently and effectively despite the potential hurdles presented
   and the arguments raised by Defendants detailed above. The quality of Class Counsel and
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   their achievement in this case is equally shown by the strength of their opponents, Perkins
   Coie LLP and Bilzin Sumberg Baena Price & Axelrod LLP who are excellent defense firms.
   (Bryson Decl. at ¶ 13). This factor thus also favors awarding the requested fee.
          The Result Achieved for the Class: The result achieved is a major factor to consider
   in making a fee award and, here, this factor perhaps best establishes the propriety of the
   requested fee award. See Hensley v. Eckerhart, 461 U.S. 424, 436, (1983) (“critical factor is the
   degree of success obtained”); Pinto, 513 F. Supp. 2d at 1342; Behrens, 118 F.R.D. at 547–48
   (“The quality of work performed in a case that settles before trial is best measured by the
   benefit obtained.”). In considering the results, courts examine the value of both monetary and
   injunctive relief. See Poertner, 618 Fed. App’x at 629; Perez v. Asurion Corp., 501 F. Supp. 2d
   1360 (S.D. Fla. 2007); LiPuma, 406 F. Supp. 2d at 1323. In In re: Checking Acct. Overdraft Litig.,
   No. 1:09-MD-02036-JLK, 2013 WL 11319391, at *13-14 (S.D. Fla. Aug. 5, 2013), the Court
   specifically emphasized the importance of compensating class counsel for their work in
   extracting non-cash relief when using the percentage-of-the-fund approach.
          The results here – a settlement providing $8 million in cash and prospective injunctive
   relief – are excellent. Defendants are required to remove the precise statements challenged by
   Plaintiffs from their product labeling and ancillary marketing. These results are powerful
   evidence supporting the fee award. Indeed, even before final approval of the injunctive relief,
   Defendants have changed the labelling and marketing on a brand-new Neuriva product not
   covered by the Settlement.
          The Time and Labor of Class Counsel: Prior to filing suit, Class Counsel thoroughly
   investigated all aspects of this case, including (a) becoming thoroughly grounded in the
   relevant federal regulations and FDA and FTC guidance; (b) reviewing all labelling and
   marketing of the Neuriva Products, including all available public statements; (c) researching
   the studies relied upon by Defendants, including investigating potential conflicts of interest
   and other credibility issues; (d) retaining and working with the consulting experts in reviewing
   the studies and scientifically evaluating Defendants’ claims; (e) interviewing consumers who
   had purchased Neuriva Products and identifying class representatives; (f)            researching
   relevant supplement case law and controlling state law; (g) reviewing the records in other
   relevant supplement cases; and (h) carefully crafting the complaints.



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          After filing suit, Class Counsel thoroughly reviewed and researched Defendants’
   motions to dismiss and prepared Amended Complaints addressing those motions; researched
   legally and factually Defendants’ motion to transfer the Williams case; and spent substantial
   time in contentious settlement negotiations, working with the settlement administrator to
   design an effective notice program, and overseeing the claims process. Additionally, Class
   Counsel have responded to and will continue to respond to questions from class members
   about the settlement and their claims. All of this work was critical in view of the issues
   involved, the manner in which the case was defended, and the quality of Defendants’ counsel.
          The Reaction of the Class to the Settlement: To date, no class member has opted out
   or objected to the Settlement, which supports the fee request. Pinto, 513 F. Supp. 2d at 1343.
   The Settlement Class reaction will be further addressed after the objection deadline on July
   27, 2021.
               B. Class Representative Service Awards

          In light of the opinion in Johnson,, 975 F.3d at 1255-62, the Class Representatives in
   this case are not presently moving for Court approval of the service awards. However, this
   and other courts have held open the service award issue pending a potential en banc decision
   in Johnson. See, e.g., Harvey v. Hammel Kaplan Co., LLC, No. 3:19-cv-00640, 2020 U.S. Dist.
   LEXIS, at *9-10, 22 (M.D. Fla. Dec. 7, 2020) (directing defendant to deposit the agreed
   service awards of $1500.00 in the registry of the Court, to be held until the Eleventh Circuit’s
   issuance of a mandate in Johnson); Metzler et al. v. Med. Mgmt. Int'l, Inc., No. 8:19- CV-2289-T-
   33CPT, 2020 U.S. Dist. LEXIS 187478, at *7-8 (M.D. Fla. Oct. 9, 2020) (court granted final
   approval of class action settlement and retained jurisdiction for limited purpose of revisiting
   service awards if Eleventh Circuit reverses Johnson).
          As in those cases, Plaintiffs respectfully request that this Court retain jurisdiction for
   the limited purpose of addressing the approval of service awards if the Eleventh Circuit holds
   a hearing en banc in Johnson and reverses the panel decision. If the Court agrees to retain
   jurisdiction for this limited purpose, Plaintiffs will promptly petition the Court for an order
   approving payment of the Service Awards to the Class Representatives if Johnson is reversed.
          In instituting this litigation, the Class Representatives have acted as private attorneys
   general seeking a remedy for what appeared to be a public wrong. See Pinto, 513 F. Supp. 2d
   at 1344. The Class Representatives aided in the investigation of these claims and settlement.
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   Private class action suits are a primary weapon in the enforcement of laws designed for the
   protection of the public. See Pinto, 513 F. Supp. 2d at 1344. Approval of a service award, if
   allowed by the Eleventh Circuit, is warranted as a matter of policy and is appropriate under
   applicable precedents. See Gevaerts v. TD Bank, No. 11:14-cv-20744-RLR, 2015 WL 6751061,
   at *9 (S.D. Fla. Nov. 5, 2015) (approving the requested service awards of $10,000); Dorado v.
   Bank of Am., N.A., No. 1:16-cv-21147-UU, 2017 WL 5241042, at *7 (S.D. Fla. Mar. 24, 2017)
   (same); Feller v. Transamerica Life Ins. Co., No. 16-cv-01378-CAS, 2019 WL 6605886, at *14
   (C.D. Cal. Feb. 6, 2019) (awarding $10,000 service awards to both class representatives and
   named plaintiffs).
                                         CONCLUSION
          Plaintiffs respectfully request that the Court grant final approval of the Settlement, as
   well as the application for Class Counsel’s fees and expenses. Further, Plaintiffs and Class
   Counsel request that the Court retain jurisdiction with respect to the class representative
   service awards in the event that the NPAS decision is reversed, vacated, or overruled.



   Dated: July 19, 2021                        Respectfully submitted,

                                               /s/ Jonathan B. Cohen
                                               Jonathan B. Cohen (Fla. Bar No. 27620)
                                               Rachel Soffin (Fla. Bar No. 18054)
                                               MILBERG COLEMAN BRYSON
                                               PHILLIPS GROSSMAN, PLLC
                                               First Tennessee Plaza
                                               800 S. Gay Street, Suite 1100
                                               Knoxville, TN 37929
                                               Telephone: (865) 247-0080
                                               Facsimile: (865) 522-0049
                                               jcohen@milberg.com
                                               rsoffin@milberg.com

                                               Daniel K. Bryson*
                                               Martha A. Geer*
                                               Patrick M. Wallace*
                                               MILBERG COLEMAN BRYSON
                                               PHILLIPS GROSSMAN, PLLC
                                               900 West Morgan Street
                                               Raleigh, NC 27603
                                               Telephone: (919) 600-5000

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                                      Facsimile: 919-600-5035
                                      dbryson@milberg.com
                                      mgeer@milberg.com
                                      pwallace@milberg.com

                                      Matthew D. Schultz (Fla. Bar No. 640326)
                                      LEVIN, PAPANTONIO, THOMAS,
                                      MITCHELL, RAFFERTY & PROCTOR, PA
                                      316 S. Baylen St., Suite 600
                                      Pensacola, FL 32502
                                      Telephone: (850) 435-7140
                                      Facsimile: (850) 436-6140
                                      mschultz@levinlaw.com

                                      Nick Suciu*
                                      BARBAT, MANSOUR, & SUCIU PLLC
                                      1644 Bracken Rd.
                                      Bloomfield Hills, MI 48302
                                      Telephone:(313) 303-3472
                                      nicksuciu@bmslawyers.com

                                      Jonathan Shub
                                      Kevin Laukaitis
                                      SHUB LAW FIRM LLC
                                      134 Kings Hwy E, 2nd Floor
                                      Haddonfield, NJ 08033
                                      Telephone: (856) 772-7200
                                      jshub@shublawyers.com
                                      klaukaitis@shublawyers.com

                                      L. Timothy Fisher*
                                      Blair Reed*
                                      Sarah Westcot*
                                      BURSOR & FISHER, P.A.
                                      1990 North California Blvd, Ste. 940
                                      Walnut Creek, CA 94596
                                      Telephone: (925) 300-4455
                                      ltfisher@bursor.com
                                      breed@bursor.com
                                      swestcot@bursor.com


                                      *Admitted pro hac vice

                                      Attorneys for Plaintiffs and the Class


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                                  CERTIFICATE OF SERVICE
          I hereby certify that on July 19, 2021, I caused the foregoing to be filed via the Court’s
   electronic filing system which will notify all counsel of record of the same.
                                               /s/ Jonathan B. Cohen
                                               Jonathan B. Cohen




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